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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

SHANDRIKA PIROZZI,                     §
Plaintiff                              §
                                       §     CIVIL ACTION NO.
vs.                                    §
                                       §
GC SERVICES, LP                        §
Defendant                              §


                                  COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW Shandrika Pirozzi, hereinafter referred to as Plaintiff

complaining against GC Services, LP hereinafter referred to as Defendant and for

cause of action would respectfully show unto the Court as follows:

             NATURE OF THE ACTION AND JURISDICTION

1.    This is an action for damages brought by an individual plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices. Plaintiff seeks to recover

monetary damages for Defendant’s violation of the FDCPA and the DTPA and to

have an Order or injunction issued by this Court preventing Defendant from

continuing its behavior in violation of the FDCPA. Jurisdiction of this Court arises
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under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337 and venue is proper before this

Court as Plaintiff and/or Defendant reside in this District and/or the complained of

actions occurred in this District. Service may be made upon Defendant in any other

district in which it may be found pursuant to 29 U.S.C. §1132(e)(2).

2.    Plaintiff, Shandrika Pirozzi, is a natural person and a “consumer” as defined

by 15 U.S.C. §1692(a)(3), the Texas Deceptive Trade Practices Act §17.45(4).

3.    Defendant, GC Services, LP is a domestic corporation engaged in the

business of collecting debts by use of the mails and telephone, and Defendant

regularly attempts to collect debts alleged to be due another. Defendant is a “debt

collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6) trying to collect a

“debt” as defined by 15 U.S.C. §1692(a)(5).

                               FIRST COUNT
                             FDCPA VIOLATIONS

4.    At various and multiple times prior to the filing of the instant complaint,

including within the one year preceding the filing of this Complaint, Defendant

contacted Plaintiff in an attempt to collect an alleged outstanding debt. Defendant’s

conduct violated the FDCPA in multiple ways, including but not limited to:

             a) Using false representations and unfair practices in connection with

                collection of an alleged debt from Plaintiff, including inducing

                Plaintiff to give her bank account information in order to make a

                smaller monthly payment, then reneging on the agreement to make
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         the smaller payments. Within the last 12 months, Plaintiff entered

         into a federal rehabilitation program in order to remove her

         account from default status. Pursuant to this agreement, Plaintiff

         was to pay $168 per month to Defendant. Plaintiff had paid her

         monthly payments regularly for several months, when Defendant

         called her with surprising news. Defendants employee, Kenny,

         told Plaintiff that Sallie Mae (the original creditor) had decided

         that she could pay a smaller monthly payment and still qualify to

         remove her account from default status. The offer was not without

         strings attached, however. Defendant told Plaintiff that she must

         set up her bank account for automatic withdrawal in order to

         qualify for this lower payment amount. Plaintiff agreed to the deal

         and set up her bank account to have the smaller payments

         withdrawn automatically.      Later, Defendant reneged on the

         agreement and refused to acknowledge that Plaintiff had an

         ongoing rehabilitation agreement with Defendant (§ 1692e(10) & §

         1692f); and

      b) Using false representations and deceptive practices in connection

         with collection of an alleged debt from Plaintiff, including sending

         a letter on December 23, 2009, which false implied that Plaintiff
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                 had not entered into any payment arrangements with Defendant (§

                 1692e(10)).

5.     As a result of the above violations of the FDCPA, Plaintiff suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendant is liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

                         SECOND COUNT
     VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

6.     Plaintiff reincorporates by reference herein all prior paragraphs above.

7.     This suit is brought, in part, under the authority of Tex. Bus. & Com. Code §

17.41 et seq., commonly known as the Deceptive Trade Practices and Plaintiff

Protection Act and cited in this petition as the “DTPA”.

8.      Defendant was given notice in writing of the claims made in this Petition

more than sixty days before this suit was filed in the manner and form required by

DTPA §17.505 (a).

9.       Defendant made numerous material misrepresentations in an attempt to

collect the purported debt as detailed above.

10.    Defendant knew or should have known that its representations were false

and/or acted in reckless disregard for the truth or falsity of its representations.

11.    Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.
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12.   Defendant’s actions as detailed above constitute a violation of the Texas

Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

13.   The conduct described above has been and is a producing and proximate

cause of damages to Plaintiff.       Plaintiff’s damages include: Actual/economic

damages, emotional and/or mental anguish damages, exemplary/punitive damages,

and Plaintiff’s attorneys’ fees and costs.

14.   Additionally, Plaintiff seeks an award of discretionary additional damages in

an amount not to exceed three times the amount of economic damages if

Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

15.    Plaintiff seeks reasonable and necessary attorney’s fees in this case through

the time judgment is entered and for any post-trial or post-judgment appeals, to be

detailed through a statement of services submitted at the appropriate time.

                      THIRD COUNT
        COMMON LAW INVASION OF PRIVACY BY INTRUSION

16.   Plaintiff reincorporates by reference herein all prior paragraphs above.

17.   Defendant’s aforementioned violations of the FDCPA also constitute an

intentional intrusion into Plaintiff’s private places and into private matters of

Plaintiff’s life, conducted in a manner highly offensive to a reasonable person.
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Plaintiff had a subjective expectation of privacy in the context of Defendant’s

actions that was objectively reasonable under the circumstances.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that

Defendant be cited to appear and answer herein and upon final hearing hereof,

Plaintiff has judgment of and against Defendant as follows:

   (a)     a declaratory judgment be entered that Defendant’s conduct violated the

           FDCPA;

   (b)     an award of actual damages;

   (c)     an award of statutory damages pursuant to 15 U.S.C. § 1692k;

   (d)     an award of costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

           1692k; and,

   (e)     a declaratory judgment be entered that Defendant’s conduct violated the

           Texas deceptive Trade Practices Act;

   (f)     an award for all actual damages, exemplary damages, emotional/mental

           anguish damages, all attorneys fees, costs of court, and pre-judgment and

           post-judgment interest at the highest lawful rates.

   (g)     seeks an award of discretionary additional damages in an amount not to

           exceed three times the amount of economic damages if Defendant’s

           conduct is found to have been committed knowingly; or an amount not to
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         exceed three times the amount of economic and mental anguish damages

         if Defendant’s conduct is found to have been committed intentionally.

   (h)   such other and further relief as may be just and proper.



                                             Respectfully submitted,


                                             By: /s/Dennis R. Kurz
                                             Dennis R. Kurz
                                             Texas State Bar # 24068183
                                             Attorney in Charge for Plaintiff

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                         CERTIFICATE OF SERVICE


I certify that on April 2, 2010, I electronically filed the foregoing document with
the clerk of the U.S. District Court, Southern District of Texas, Houston Division,
using the electronic case filing system of the court.


                                                          /s/ Dennis R. Kurz
                                                          DENNIS R. KURZ
